  Fill in this information to identify your case and this filing:
  Debtor 1               Tensay                      Gee                  Johnson
                         First Name                  Middle Name          Last Name

  Debtor 2            Sylvia                         Phillips             Johnson
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number            19-11331                                                                                                   Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
10128 Barbrook Dr                                          Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description              Single-family home                           Creditors Who Have Claims Secured by Property.
                                                                Duplex or multi-unit building                Current value of the            Current value of the
                                                                Condominium or cooperative                   entire property?                portion you own?
Austin                           TX       78726                 Manufactured or mobile home                              $476,489.00                  $476,489.00
City                             State    ZIP Code              Land
                                                                Investment property                          Describe the nature of your ownership
                                                                Timeshare                                    interest (such as fee simple, tenancy by the
Travis                                                                                                       entireties, or a life estate), if known.
                                                                Other
County
                                                                                                             Fee Simple Absolute
                                                           Who has an interest in the property?
10128 Barbrook Dr, Austin, TX 78726
                                                           Check one.
LOT 16 BLK B CANYON CREEK WEST
                                                                Debtor 1 only                                     Check if this is community property
SEC 1
                                                                Debtor 2 only                                     (see instructions)

Property was purchased in 2005 for                              Debtor 1 and Debtor 2 only
approximately$220,000                                           At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
Source of valuation: Travis CAD                            property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $476,489.00




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 1
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                             Case number (if known)         19-11331


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F150
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2006                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 400,000                                At least one of the debtors and another             $4,200.00                             $4,200.00
Other information:
2006 Ford F150 (approx. 400,000                             Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Volkswagen                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Passat
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2015
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 62,017                                 At least one of the debtors and another             $6,825.00                             $6,825.00
Other information:
2015 Volkswagen Passat (approx.                             Check if this is community property
62,017 miles)                                               (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $11,025.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $5,085.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Electronics: Computer/tablet x4, Television x3, CD/DVD player, printer x2.                                               $850.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
Debtor 1          Tensay Gee Johnson
Debtor 2          Sylvia Phillips Johnson                                                                                           Case number (if known)                   19-11331

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                exercise items, golf clubs, bicycle, musical instruments                                                                                                                $1,250.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $1,500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $3,050.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dog                                                                                                                                                                             $5.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                 $11,740.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $395.52
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 3
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                            Case number (if known)   19-11331

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................           Institution name:

            17.1.       Checking account:              A+ FCU, Checking account                                                         $878.46
            17.2.       Checking account:              Bank of America, Checking account                                                  $8.92

            17.3.       Checking account:              Bank of America, Checking account                                                  $1.99

            17.4.       Checking account:              A+ FCU, Checking account                                                         $122.72
            17.5.       Checking account:              IBC, Checking account                                                            $323.61

            17.6.       Checking account:              ABC Bank, Checking account                                                       $300.00

            17.7.       Checking account:              A+FCU, Checking account                                                            $3.84

            17.8.       Savings account:               A+ FCU, Savings account                                                           $28.00
            17.9.       Savings account:               A+FCU, Savings account                                                             $1.05
            17.10. Savings account:                    IBC, Savings account                                                             $100.00
            17.11. Savings account:                    A+FCU, Savings account (zero value)                                                $0.00

            17.12. Savings account:                    ABC Bank, Savings account                                                         $50.00

            17.13. Savings account:                    Bank of America, Money Market Savings account                                      $2.79
            17.14. Savings account:                    Bank of America, Money Market Savings account                                      $0.34
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:

                                               Four Points Equity Investments, LLC

                                               It has a brokerage account ($305.36) and a bank
                                               account ($137.12). It is has no liabilities.                          100%               $442.48
                                               Four Points Platinum Machining

                                               Liabilities exceed assets.                                            100%                 $0.00




Official Form 106A/B                                                       Schedule A/B: Property                                          page 4
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                           Case number (if known)     19-11331

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:

                                           401(k) or similar plan: 401(k)                                                                          $145.80
                                           IRA:                     SEP IRA with Fidelity                                                         $2,129.26
                                           Retirement account:      ERS                                                                           $2,313.04

                                           Retirement account:      Social Security benefits not being received at this
                                                                    time                                                                          Unknown

                                           Retirement account:      Social Security benefits not being received at this
                                                                    time                                                                          Unknown
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 5
Debtor 1        Tensay Gee Johnson
Debtor 2        Sylvia Phillips Johnson                                                       Case number (if known)    19-11331

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                              Federal:
           about them, including whether
           you already filed the returns                                                                               State:
           and the tax years.....................................
                                                                                                                       Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                           Beneficiary:                      Surrender or refund value:

                                                  Term life Insurance policy with
                                                  Fidelity                                Co-Debtor                                              $1.00
                                                  Health - Blue Cross, Blue Shield;
                                                  disability - employer-provided (co-
                                                  debtor);
                                                  term life insurance - employer-
                                                  provided (co-debtor); homeowner's -
                                                  Westwood;
                                                  Vehicle - Progressive.                                                                         $1.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                 Schedule A/B: Property                                                       page 6
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                                             Case number (if known)             19-11331

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $7,249.82


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
Debtor 1          Tensay Gee Johnson
Debtor 2          Sylvia Phillips Johnson                                                                            Case number (if known)             19-11331

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
Debtor 1           Tensay Gee Johnson
Debtor 2           Sylvia Phillips Johnson                                                                                    Case number (if known)                19-11331


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $476,489.00

56. Part 2: Total vehicles, line 5                                                                                  $11,025.00

57. Part 3: Total personal and household items, line 15                                                             $11,740.00

58. Part 4: Total financial assets, line 36                                                                           $7,249.82

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $30,014.82              property total                 +           $30,014.82


63. Total of all property on Schedule A/B.                                                                                                                                                  $506,503.82
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
Debtor 1    Tensay Gee Johnson
Debtor 2    Sylvia Phillips Johnson                                           Case number (if known)   19-11331


6.   Household goods and furnishings (details):

     Kitchen: Stove/oven, dishwasher, microwave, refrigerator, kitchenware, china cabinet, pots and               $1,900.00
     pans, dishes and glassware, dining table with chairs, small appliances, washer/dryer.
     Bedrooms: Bed x4, nightstands x3, bookcase x4, dresser/chest x5, desk x2.                                     $900.00

     Living room: Loveseat, sofa, coffee table, recliner/chair, end table, lamp/clock                             $1,575.00

     Bathrooms: towels and linens                                                                                  $100.00

     Lawnmower, yard tools, power tools, hand tools, outdoor furniture, grill, holiday decorations,                $610.00
     books, movies/music
11. Clothes (details):

     Man's clothing                                                                                                $500.00

     Woman's clothing                                                                                              $500.00

     Dependent's clothing                                                                                          $500.00

12. Jewelry (details):

     Man's wedding ring, watches                                                                                  $1,050.00

     Woman's wedding ring, costume jewelry, watch.                                                                $2,000.00




Official Form 106A/B                                 Schedule A/B: Property                                          page 10
 Fill in this information to identify your case:
 Debtor 1            Tensay               Gee                    Johnson
                     First Name           Middle Name            Last Name
 Debtor 2            Sylvia               Phillips               Johnson
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         19-11331                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $476,489.00                 $301,440.79         Const. art. 16 §§ 50, 51, Texas
10128 Barbrook Dr, Austin, TX 78726                                               100% of fair market     Prop. Code §§ 41.001-.002
LOT 16 BLK B CANYON CREEK WEST SEC 1                                              value, up to any
                                                                                  applicable statutory
Property was purchased in 2005 for                                                limit
approximately$220,000

Source of valuation: Travis CAD
Line from Schedule A/B: 1.1




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                Case number (if known)   19-11331

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $4,200.00                $4,200.00          Tex. Prop. Code §§ 42.001(a),
2006 Ford F150 (approx. 400,000 miles)                                       100% of fair market    42.002(a)(9)
                                                                             value, up to any
Line from Schedule A/B:    3.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $6,825.00                   $0.00           Tex. Prop. Code §§ 42.001(a),
2015 Volkswagen Passat (approx. 62,017                                       100% of fair market    42.002(a)(9)
miles)                                                                       value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                      $1,900.00                $1,900.00          Tex. Prop. Code §§ 42.001(a),
Kitchen: Stove/oven, dishwasher,                                             100% of fair market    42.002(a)(1)
microwave, refrigerator, kitchenware,                                        value, up to any
china cabinet, pots and pans, dishes and                                     applicable statutory
glassware, dining table with chairs, small                                   limit
appliances, washer/dryer.
Line from Schedule A/B:  6

Brief description:                                       $900.00                  $900.00           Tex. Prop. Code §§ 42.001(a),
Bedrooms: Bed x4, nightstands x3,                                            100% of fair market    42.002(a)(1)
bookcase x4, dresser/chest x5, desk x2.                                      value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                      $1,575.00                $1,575.00          Tex. Prop. Code §§ 42.001(a),
Living room: Loveseat, sofa, coffee table,                                   100% of fair market    42.002(a)(1)
recliner/chair, end table, lamp/clock                                        value, up to any
Line from Schedule A/B:    6                                                 applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
Bathrooms: towels and linens                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $610.00                  $610.00           Tex. Prop. Code §§ 42.001(a),
Lawnmower, yard tools, power tools, hand                                     100% of fair market    42.002(a)(1)
tools, outdoor furniture, grill, holiday                                     value, up to any
decorations, books, movies/music                                             applicable statutory
Line from Schedule A/B:   6                                                  limit

Brief description:                                       $850.00                  $850.00           Tex. Prop. Code §§ 42.001(a),
Electronics: Computer/tablet x4, Television                                  100% of fair market    42.002(a)(1)
x3, CD/DVD player, printer x2.                                               value, up to any
Line from Schedule A/B: 7                                                    applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                Case number (if known)   19-11331

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,250.00                $1,250.00          Tex. Prop. Code §§ 42.001(a),
exercise items, golf clubs, bicycle,                                         100% of fair market    42.002(a)(1)
musical instruments                                                          value, up to any
Line from Schedule A/B:  9                                                   applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Man's clothing                                                               100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Woman's clothing                                                             100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Dependent's clothing                                                         100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,050.00                $1,050.00          Tex. Prop. Code §§ 42.001(a),
Man's wedding ring, watches                                                  100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Woman's wedding ring, costume jewelry,                                       100% of fair market    42.002(a)(6)
watch.                                                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           Tex. Prop. Code §§ 42.001(a),
Dog                                                                          100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,313.04                $2,313.04          Tex. Prop. Code § 42.0021
ERS                                                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      Unknown                     $0.00           42 U.S.C. § 407
Social Security benefits not being received                                  100% of fair market
at this time                                                                 value, up to any
Line from Schedule A/B:  21                                                  applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                Case number (if known)   19-11331

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      Unknown                     $0.00           42 U.S.C. § 407
Social Security benefits not being received                                  100% of fair market
at this time                                                                 value, up to any
Line from Schedule A/B:  21                                                  applicable statutory
                                                                             limit

Brief description:                                      $2,129.26                $2,129.26          Tex. Prop. Code § 42.0021
SEP IRA with Fidelity                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $145.80                  $145.80           Tex. Prop. Code § 42.0021
401(k)                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           Tex. Ins. Code §§ 1108.001,
Term life Insurance policy with Fidelity                                     100% of fair market    1108.051
                                                                             value, up to any
Line from Schedule A/B:    31
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           Tex. Ins. Code §§ 1108.001,
Health - Blue Cross, Blue Shield;                                            100% of fair market    1108.051
disability - employer-provided (co-debtor);                                  value, up to any
term life insurance - employer-provided                                      applicable statutory
(co-debtor); homeowner's - Westwood;                                         limit
Vehicle - Progressive.
Line from Schedule A/B:  31




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
  Fill in this information to identify your case:
  Debtor 1             Tensay                Gee                    Johnson
                       First Name            Middle Name            Last Name

  Debtor 2            Sylvia                 Phillips               Johnson
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number          19-11331                                                                                        Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $19,971.00             $476,489.00
Intl Bank Of Commerce
Creditor's name
                                                 10128 Barbrook Dr, Austin, TX
1 S Broadway St                                  78726
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Mcallen                  TX      78501               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           11/2005         Last 4 digits of account number        1     1    0    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $19,971.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                     Case number (if known)      19-11331

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                               $9,503.00              $6,825.00        $2,678.00
Santander Consumer Usa                        2015 Volkswagen Passat
Creditor's name
Po Box 961245
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Ft Worth                TX      76161             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          02/2019       Last 4 digits of account number        1     0    0    0

  2.3                                         Describe the property that
                                              secures the claim:                           $155,077.21             $476,489.00
Specialized Loand Servicing
Creditor's name
                                              10128 Barbrook Dr, Austin, TX
PO Box 60535                                  78726
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
City of Industry        CA      91716             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          2005          Last 4 digits of account number        4     7    9    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $164,580.21

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $184,551.21

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
  Fill in this information to identify your case:
  Debtor 1             Tensay                Gee                    Johnson
                       First Name            Middle Name            Last Name

  Debtor 2            Sylvia                 Phillips               Johnson
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number          19-11331                                                                                         Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $28,623.99         $28,623.99                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number        8     9    5      2
Special Procedures - Insolvency                            When was the debt incurred?          2016
Number       Street
P.O. Box 7346                                              As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                          Case number (if known)      19-11331

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,659.00
A+ Federal Credit Unio                                      Last 4 digits of account number         0 7        0     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?           05/2016
6420 E Hwy 290
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX      78723
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit card purchases
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $1,084.00
Advanta Bank Corp                                           Last 4 digits of account number         7 9        7     9
Nonpriority Creditor's Name
                                                            When was the debt incurred?           04/2007
101 Crossways Park West
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Woodbury                        NY      11797
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                    $0.00
ARA Imaging                                              Last 4 digits of account number       3    5    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 4427
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78765-4427
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $4,793.00
AT&T Business                                            Last 4 digits of account number      6 7        6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $2,573.00
Austin Regional Clinic                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 26726
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78755-0726
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                              $36,082.00
Bank Of America                                          Last 4 digits of account number      1 7        2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/1997
Po Box 982238
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           C-1-CV-18-011300
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                              $14,730.00
Bank Of America                                          Last 4 digits of account number      6 9        2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2005
Po Box 982238
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $507.00
Bank Of America                                          Last 4 digits of account number      7 2        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2012
Po Box 982238
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                                  $604.00
Bank or America                                          Last 4 digits of account number      3 3        9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1997
4909 Savarese Cir
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Tampa                         FL      33634
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $8,245.00
Chase                                                    Last 4 digits of account number      6 1        0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/1999
Po Box 15369
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $4,571.00
Chase                                                    Last 4 digits of account number      3 7        7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/1992
Po Box 15369
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                $4,329.00
Chase                                                    Last 4 digits of account number      1 5        0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2008
Po Box 15369
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                              $32,010.00
Chase                                                    Last 4 digits of account number      3 0        0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
Po Box 29550
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85038
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                $4,329.00
Chase                                                    Last 4 digits of account number      1 5        0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
Po Box 29550
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85038
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                              $14,039.00
Citicards Cbna                                           Last 4 digits of account number      1 5        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2006
Po Box 6217
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                              $11,405.00
Citicards Cbna                                           Last 4 digits of account number       0    8    2    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Po Box 6217
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                    $0.00
City of Round Rock                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
221 East Main
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Round Rock                    TX      78664-5299
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                  $224.00
Clinical Pathology Associates                            Last 4 digits of account number      1 8        2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
P.O. Box 28770
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78755
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                              $12,128.00
Compass Bank                                             Last 4 digits of account number      4 9        3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
PO Box 2210
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Decatur                       AL      35699-0001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                $5,450.00
Dell Business Credit                                     Last 4 digits of account number      2 5        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
PO Box 5275
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5275
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                                $1,633.00
Discover Fin Svcs Llc                                    Last 4 digits of account number      7 2        5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2009
Pob 15316
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                $2,132.00
First Electronic Bank                                    Last 4 digits of account number      7 5        1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2007
2150 S 1300 E Ste 400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84106
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                    $0.00
Ford Motor Credit Comp                                   Last 4 digits of account number      5 0        2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Pob 542000
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68154
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.24                                                                                                                                $2,538.25
Fred E. Walker, P.C.                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/18/2019
609 Castle Ridge Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 220                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78746
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney Fees
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                  $998.00
Kohls                                                    Last 4 digits of account number      8 2        5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2012
Po Box 3115
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Milwaukee                     WI      53201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                $3,334.00
Lonestar Hospital Med Assoc                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 630707
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45263
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.27                                                                                                                                $1,337.00
Longhorn Emergency Medical Assoc                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 638761
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      75263
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                   $72.00
North Austin Medical Center                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
Box 99587
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Louisville                    KY      40269
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                $5,675.00
Sears/Citi                                               Last 4 digits of account number      1 5        6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2005
Po Box 6217
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           J2-CV-19-002960
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.30                                                                                                                              $12,661.00
St David's North Austin Medical                          Last 4 digits of account number      7 2        6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 740794
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45274
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes
65118949

  4.31                                                                                                                                $6,835.00
Syncb/gap                                                Last 4 digits of account number      9 8        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2012
Po Box 965005
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.32                                                                                                                                $1,205.00
Syncb/rooms To Go                                        Last 4 digits of account number      2 3        1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
C/o Po Box 965036
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                                $2,449.00
Syncb/sams Club Dc                                       Last 4 digits of account number      0 6        2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2015
Po Box 965005
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                $1,442.00
Synchrony Bank / Care Credit                             Last 4 digits of account number       0    6    2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Att: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-5060
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.35                                                                                                                                $3,641.00
Target                                                   Last 4 digits of account number      6 7        9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2010
Po Box 673
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.36                                                                                                                                $4,071.00
The Austin Diagnostic Clinic                             Last 4 digits of account number      5 8        7    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 843768
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75284-3768
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                                $3,713.00
The Home Depot                                           Last 4 digits of account number      4 3        5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2010
Po Box 6497
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.38                                                                                                                                $2,827.00
The Home Depot                                           Last 4 digits of account number      4 1        4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2014
Po Box 6497
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.39                                                                                                                                $1,573.00
The Home Depot                                           Last 4 digits of account number       8    1    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Po Box 6497
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit card purchases
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                                  $238.00
Travis County Emergency Medical Services                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15 Waller St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Austin                        TX      78702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical services
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 15
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.41                                                                                                                                $1,264.00
Valero Marketing and Supply                              Last 4 digits of account number      2 9        7    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
PO box 300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Amarillo                      TX      79105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.42                                                                                                                              $10,306.00
Vallen Distributions                                     Last 4 digits of account number      6 0        0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
c/o Barr Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5151 E Broadway, St 800                                      Contingent
                                                             Unliquidated
                                                             Disputed
Tucson                        AZ      58711
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.43                                                                                                                                    $0.00
Vw Credit Inc                                            Last 4 digits of account number      4 1        3    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2015
1401 Franklin Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Libertyville                  IL      60048
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 16
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                     Case number (if known)       19-11331

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.44                                                                                                                                $9,026.00
Wells Fargo Business                                     Last 4 digits of account number      5 7        1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
PO Box 29482
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85038
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Guarantor for Four Points Platinum Invest
Is the claim subject to offset?
     No
     Yes

  4.45                                                                                                                                    $0.00
Wells Fargo Hm Mortgag                                   Last 4 digits of account number      6 5 5           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/14/2005
Po Box 10335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 17
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                    Case number (if known)     19-11331

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Akron billing Center                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2585 Ridge Park Dr                                          Line   4.27 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Akron                           OH      44333
City                            State   ZIP Code


Allied Interstate, Inc.                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 361445                                               Line   4.31 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Columbus                        OH      43236
City                            State   ZIP Code


Alltran Financial                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 4044                                                 Line   4.14 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    0    9    0
Concord                         CA      94524
City                            State   ZIP Code


Alltran Financial                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 4044                                                 Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    0    9    0
Concord                         CA      94524
City                            State   ZIP Code


American Medical Collection Agency                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1235                                                 Line   4.18 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Elmsford                        NY      10523
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 18
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                              Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

ARS National Services                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 463023                                      Line   4.38 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       4    5    1    2
Escondido                 CA      92046
City                      State   ZIP Code


Atlantic Credit & Finance, Inc.                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 13386                                       Line   4.31 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Roanoke                   VA      24033
City                      State   ZIP Code


BARR Credit Svcs                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5151 E Broadway blvd, St 800                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Collection agency for               Part 2: Creditors with Nonpriority Unsecured Claims
                                                   Vallen Distributions
                                                   Last 4 digits of account number
Tucson                    AZ      85711
City                      State   ZIP Code


Capio Partners Llc                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2222 Texoma Pkwy Ste 150                           Line   4.28 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       8    2    8    0
Sherman                   TX      75090
City                      State   ZIP Code


Capital Management Services                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
698 l/2 South Ogden Street                         Line   4.29 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Buffalo                   NY      14206-2317
City                      State   ZIP Code


Carson Smithfield, LLC                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 9216                                        Line   4.2 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Old Bethpage              NY      11804
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 19
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                             Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Credit Control Corp                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 120630                                      Line   4.29 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Newport News              VA      23612
City                      State   ZIP Code


Credit Corp Solutions                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
63 East 11400 S 408                                Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Sandy                     UT      84070
City                      State   ZIP Code


Credit Management Lp                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 118288                                      Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number      6    7    2    0
Carrollton                TX      75011
City                      State   ZIP Code


Encore Receivable                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3330                                        Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Olathe                    KS      66063
City                      State   ZIP Code


Firstsource Advantage, LLC                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 628                                         Line   4.35 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Buffalo                   NY      14240
City                      State   ZIP Code


GC Services                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3855                                        Line   4.37 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Houston                   TX      77253
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page 20
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                              Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

GC Services                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3855                                         Line   4.11 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Houston                    TX      77253
City                       State   ZIP Code


Global Credit & Collection Corp                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5440 N Cumberland Ave, Ste 300                      Line   4.39 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Chicago                    IL      60656
City                       State   ZIP Code


HRRG Collection                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 8486                                         Line   4.27 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Coral Springs              FL      33075
City                       State   ZIP Code


HRRG Collection                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 8486                                         Line   4.26 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Coral Springs              FL      33075
City                       State   ZIP Code


IC System, Inc.                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
444 Hwy. 96 East                                    Line   4.36 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
P.O. Box 64887                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
St. Paul                   MN      55164-0887
City                       State   ZIP Code


Justice of the Peace                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Precinct 2                                          Line   4.29 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
10409 Burnet Rd, Ste 180                                                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Austin                     TX      78758
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 21
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                              Case number (if known)    19-11331

  Part 3:       List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

LTD Financial Services, LP                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7322 Southwest Freeway, Suite 1600                  Line   4.19 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Houston                    TX      77074
City                       State   ZIP Code


McCarthy, Burgess & Wolf                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
26000 Cannon Road                                   Line   4.38 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Cleveland                  OH      44146
City                       State   ZIP Code


McCarthy, Burgess & Wolf                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
26000 Cannon Road                                   Line   4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Cleveland                  OH      44146
City                       State   ZIP Code


Medicredit, Inc                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1629                                         Line   4.30 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Maryland Heights           MO      63043
City                       State   ZIP Code


Medicredit, Inc                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1629                                         Line   4.28 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Maryland Heights           MO      63043
City                       State   ZIP Code


Mercantile Adjustment Bureau                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 9055                                         Line   4.25 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Williamsville              NY      14231
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 22
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                               Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Merchants and Medical                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6324 Taylor Drive                                    Line   4.25 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Flint                       MI      48507
City                        State   ZIP Code


Merchants&professional                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11921 North Mopac Expwy #210                         Line   4.17 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      7    4    7    4
Austin                      TX      78714
City                        State   ZIP Code


Merchants&professional                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11921 North Mopac Expwy #210                         Line   4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      7    4    7    4
Austin                      TX      78714
City                        State   ZIP Code


Midland Credit Management                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8875 Aero Drive, Ste. 200                            Line   4.37 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
San Diego                   CA      92123
City                        State   ZIP Code


Midland Credit Management                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8875 Aero Drive, Ste. 200                            Line   4.32 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
San Diego                   CA      92123
City                        State   ZIP Code


Midland Credit Management                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8875 Aero Drive, Ste. 200                            Line   4.31 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
San Diego                   CA      92123
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 23
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                             Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Midland Funding                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
320 East Big Beaver                                Line   4.31 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number      7    6    9    5
Troy                      MI      48083
City                      State   ZIP Code


Midwest Recovery Systems                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 899                                         Line   4.27 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Florissant                MO      63032
City                      State   ZIP Code


Morgan & Associates                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2601 N.W. Expressway, suite 205 East               Line   4.39 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Oklahoma City             OK      73112-7229
City                      State   ZIP Code


Moss Law Firm                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3340                                        Line   4.29 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Lubbock                   TX      79452
City                      State   ZIP Code


MRS                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
10101 Harwin, Ste. 260                             Line   4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Houston                   TX      77036
City                      State   ZIP Code


Municipal Services Bureau                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 16755                                     Line   4.40 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Austin                    TX      78761
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page 24
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                             Case number (if known)    19-11331

  Part 3:       List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Nationwide Credit, Inc.                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 26314                                        Line   4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Lehigh Valley              PA      18002
City                       State   ZIP Code


NPAS, Inc                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 99400                                        Line   4.30 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Louisville                 KY      40269
City                       State   ZIP Code


Portfolio Recov Assoc                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
150 Corporate Blvd                                  Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      0    6    2    4
Norfolk                    VA      23502
City                       State   ZIP Code


Portfolio Recov Assoc                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
150 Corporate Blvd                                  Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      0    8    2    5
Norfolk                    VA      23502
City                       State   ZIP Code


Portfolio Recov Assoc                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
150 Corporate Blvd                                  Line   4.33 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      0    6    2    4
Norfolk                    VA      23502
City                       State   ZIP Code


Portfolio Recov Assoc                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
150 Corporate Blvd                                  Line   4.16 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number      0    8    2    5
Norfolk                    VA      23502
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 25
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                               Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

PRA Receivables Mgmt, LLC                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 41021                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Norfolk                    VA      23541-1021
City                       State   ZIP Code


Scott & Associates PC                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 115220                                       Line   4.7 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Carroliton                 TX      75011
City                       State   ZIP Code


Scott & Associates PC                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 115220                                       Line   4.6 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Carroliton                 TX      75011
City                       State   ZIP Code


Stillman Law Firm                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
50 Tower Office Park                                Line   4.36 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Woburn                     MA      01801
City                       State   ZIP Code


Travis County District Clerk                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 679003                                       Line   4.6 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Austin                     TX      78767
City                       State   ZIP Code


United Collection Bureau                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 140310                                       Line   4.38 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Toledo                     OH      43614
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 26
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                               Case number (if known)    19-11331

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

United Collection Bureau                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO box 140310                                        Line   4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Toledo                      OH      43614
City                        State   ZIP Code


United States Attorney                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Civil Process Clerk                                  Line   2.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
601 N. W. Loop 410, Suite 600                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
San Antonio                 TX      78216
City                        State   ZIP Code


United States Attorney General                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Department of Justice                                Line   2.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
950 Pennsylvania Ave., N.W.                                                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Washington                  DC      20530
City                        State   ZIP Code


Valentine & Kebartas, Inc                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 325                                           Line   4.20 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      8    6    6    0
Lawrence                    MA      01842
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 27
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                  Case number (if known)        19-11331

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.             $28,623.99

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.             $28,623.99




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $237,732.25


                   6j.   Total.   Add lines 6f through 6i.                                            6j.            $237,732.25




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                      page 28
 Fill in this information to identify your case:
 Debtor 1             Tensay                Gee                    Johnson
                      First Name            Middle Name            Last Name

 Debtor 2            Sylvia                 Phillips               Johnson
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number          19-11331                                                                                        Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Fred E. Walker, P.C.                                                         attorney client agreement
          Name                                                                         Contract to be ASSUMED
          609 Castle Ridge Road
          Number    Street
          Suite 220

          Austin                                       TX        78746
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
 Fill in this information to identify your case:
 Debtor 1              Tensay                 Gee                         Johnson
                       First Name             Middle Name                 Last Name

 Debtor 2            Sylvia                   Phillips                    Johnson
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number           19-11331                                                                                             Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Sylvia Johnson
                Name of your spouse, former spouse, or legal equivalent
                10128 Barbrook Dr
                Number          Street


                Austin                                          TX              78726
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Four Points Platinum Machining, LLC
         Name                                                                                          Schedule D, line
         10105 Metropolitan                                                                            Schedule E/F, line        4.2
         Number        Street
                                                                                                       Schedule G, line

         Austin                                         TX                78758                  Advanta Bank Corp
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                    Case number (if known)       19-11331

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                         4.4
                                                                                 Schedule G, line

       Austin                           TX          78758                    AT&T Business
       City                             State       ZIP Code


3.3    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line     4.13
       Number        Street
                                                                                 Schedule G, line

       Austin                           TX          78758                    Chase
       City                             State       ZIP Code


3.4    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.14
                                                                                 Schedule G, line

       Austin                           TX          78758                    Chase
       City                             State       ZIP Code


3.5    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.19
                                                                                 Schedule G, line

       Austin                           TX          78758                    Compass Bank
       City                             State       ZIP Code


3.6    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.20
                                                                                 Schedule G, line

       Austin                           TX          78758                    Dell Business Credit
       City                             State       ZIP Code


3.7    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line     4.38
       Number        Street
                                                                                 Schedule G, line

       Austin                           TX          78758                    The Home Depot
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                    Case number (if known)       19-11331

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.8    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.41
                                                                                 Schedule G, line

       Austin                           TX          78758                    Valero Marketing and Supply
       City                             State       ZIP Code


3.9    Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line     4.42
       Number        Street
                                                                                 Schedule G, line

       Austin                           TX          78758                    Vallen Distributions
       City                             State       ZIP Code


3.10   Four Points Platinum Machining, LLC
       Name                                                                      Schedule D, line
       10105 Metropolitan                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.44
                                                                                 Schedule G, line

       Austin                           TX          78758                    Wells Fargo Business
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 3
 Fill in this information to identify your case:
     Debtor 1              Tensay               Gee                    Johnson
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Sylvia               Phillips               Johnson                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           19-11331
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Self-employed                                      Office Technician
      Include part-time, seasonal,                             Four Points Platinum Investment,
      or self-employed work.            Employer's name        LLC                                                Texas Dept of Transportation

      Occupation may include            Employer's address     10128 Barbrook Dr                                  125 E 11th St
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Austin                       TX       78726        Austin                 TX      78701
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        since 2007                                        1/2019

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $3,998.08             $3,200.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $3,998.08             $3,200.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
Debtor 1        Tensay Gee Johnson
Debtor 2        Sylvia Phillips Johnson                                                                                          Case number (if known)    19-11331
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,998.08       $3,200.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $770.85               $317.04
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00               $304.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                 $0.00
     5e. Insurance                                                                                          5e.                $0.00               $567.70
     5f. Domestic support obligations                                                                       5f.                $0.00                 $0.00
     5g. Union dues                                                                                         5g.                $0.00                 $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +                $0.00              $90.09
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $770.85             $1,278.83
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,227.23              $1,921.17
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.           $2,544.34                   $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $2,544.34                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $5,771.57 +         $1,921.17 =                                                   $7,692.74
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $7,692.74
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor anticipates generating more income from his business (by hiring more sales employess) and
        Yes. Explain: actually running in the black once some of the debt is discharged. Debtor's income from the
                                business was excluded from the MT because the expenses exceeded the income.


Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                     Case number (if known)   19-11331


                                                                 For Debtor 1       For Debtor 2 or
                                                                                    non-filing spouse
5h. Other Payroll Deductions (details)
     Dental                                                                                 $32.59
     vision                                                                                 $18.96
     Life Insurance                                                                          $4.68
     AD&D                                                                                    $4.00
     Dep life                                                                                $1.38
     Disability insurance                                                                   $28.48

                                                       Totals:           $0.00              $90.09




Official Form 106I                       Schedule I: Your Income                                              page 3
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                               Case number (if known)   19-11331

8a. Attached Statement (Debtor 1)

                                       Four Points Platinum

Gross Monthly Income:                                                                                  $34,520.65

Expense                                  Category                                 Amount

Costs of Good Sold                       Cost of Goods Sold                    $3,779.84
Professional                             Fees                                   $862.48
Payroll, taxes, etc.                     Payroll                              $10,554.00
Medical                                  Expense                                $286.00
Utilities                                Utilities                              $776.00
Office Expenses/Supplies, misc.          Office Expense                         $252.00
Meal and Entertainment                   Meals and Entertainment                $670.00
Material                                 Material                               $721.85
Repairs and Maintenance                  Repairs and maintenance                $495.07
Telephone                                Telephone                              $359.18
Uncategorized                            Uncategorized                          $222.00
Contract Labor                           Contract Labor                        $1,061.00
Taxes and Licenses                       Taxes and Licenses                     $143.00
Auto                                     Automobile                            $1,120.73
Accounting                               Professional Fees                      $862.00
Advertising, licenses                    Miscellaneous                          $208.00
Rent                                     Rent/Lease/equipment                  $7,746.90
Small, etc.                              Tools                                  $928.71
Insurance                                Insurance                              $927.55
Total Monthly Expenses                                                                                 $31,976.31
Net Monthly Income:                                                                                     $2,544.34




Official Form 106I                     Schedule I: Your Income                                             page 4
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Tensay                 Gee                    Johnson                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Sylvia                 Phillips               Johnson
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           19-11331
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            10
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Daughter                            14
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $2,280.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $250.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $10.40




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                  Case number (if known)   19-11331
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.                      $167.00
6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $260.00
     6b. Water, sewer, garbage collection                                                           6b.                     $220.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $200.00
         cable services
     6d. Other. Specify:      Mobile Phone                                                          6d.                     $390.00
7.   Food and housekeeping supplies                                                                 7.                     $1,000.00
8.   Childcare and children's education costs                                                       8.                      $100.00
9.   Clothing, laundry, and dry cleaning                                                            9.                      $300.00
10. Personal care products and services                                                             10.                     $200.00
11. Medical and dental expenses                                                                     11.                     $208.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                     $640.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $200.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                      $75.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                     $48.00
     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                    $175.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2015 Volkswagen Passat                                    17a.                    $270.00
     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                          Case number (if known)   19-11331
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +               $675.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $7,668.40
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $7,668.40

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $7,692.74
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $7,668.40
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                    $24.34

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
Debtor 1    Tensay Gee Johnson
Debtor 2    Sylvia Phillips Johnson                               Case number (if known)   19-11331


21. Other. Specify:
    Pet Expenses                                                                                       $75.00
    IRS repayment                                                                                     $550.00
    Parking and toll (work related)                                                                    $50.00

                                                                        Total:                        $675.00




 Official Form 106J                   Schedule J: Your Expenses                                          page 4
 Fill in this information to identify your case:
 Debtor 1                Tensay                        Gee                           Johnson
                         First Name                    Middle Name                   Last Name

 Debtor 2            Sylvia                            Phillips                      Johnson
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number             19-11331                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $476,489.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $30,014.82
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $506,503.82
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $184,551.21
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $28,623.99
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $237,732.25
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $450,907.45




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,692.74
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $7,668.40




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                      Case number (if known)     19-11331


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $9,597.84


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $28,623.99


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                     $28,623.99




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
 Fill in this information to identify your case:
 Debtor 1           Tensay              Gee                  Johnson
                    First Name          Middle Name          Last Name

 Debtor 2            Sylvia             Phillips             Johnson
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number        19-11331                                                                                 Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Tensay Gee Johnson                               X /s/ Sylvia Phillips Johnson
        Tensay Gee Johnson, Debtor 1                          Sylvia Phillips Johnson, Debtor 2

        Date 11/01/2019                                       Date 11/01/2019
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
 Fill in this information to identify your case:
 Debtor 1           Tensay                Gee                    Johnson
                    First Name            Middle Name            Last Name

 Debtor 2            Sylvia               Phillips               Johnson
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number        19-11331                                                                                    Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                   Case number (if known)     19-11331

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,          $315,094.22        Wages, commissions,            $24,447.83
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $30,000.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,                             Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                       Capital loss                       ($3,000.00)
(January 1 to December 31, 2018 )                 Income from LLC                    $13,039.00
                                YYYY



For the calendar year before that:                Income from LLC                  $108,946.00
(January 1 to December 31, 2017 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                      Case number (if known)      19-11331


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Santander Consumer Usa                                                            $789.00            $9,503.00              Mortgage
Creditor's name                                                                                                             Car
                                                              last 90 days ($263/mo.)
Po Box 961245                                                                                                               Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Ft Worth                            TX       76161                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Specialized Loan Servicing                                                       $6,677.13          $155,077.21             Mortgage
Creditor's name                                                                                                             Car
                                                              last 90 days (to get current) (monthly
PO Box 60535                                                                                                                Credit card
Number     Street                                             payments are roughly $2200)
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
City of Industry                    CA       91716                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Intl Bank Of Commerce                                                             $501.00            $19,971.00             Mortgage
Creditor's name                                                                                                             Car
                                                              last 90 days
1 S Broadway St                                                                                                             Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Mcallen                             TX       78501                                                                          Other 2nd lien
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                       Case number (if known)      19-11331
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                                Status of the case
Citibank                                  Citibank                                    Justice of the Pease
                                                                                                                                               Pending
                                          vs                                          Court Name
                                          Tensay Johnson                              Precinct 2                                               On appeal
                                                                                      Number     Street
Case number J2-CV-19-002960                                                           Travis County, Texas                                     Concluded


                                                                                      City                       State    ZIP Code


Case title                                Nature of the case                          Court or agency                                Status of the case
Bank of America                           Bank of America                             County Court, Law No 1
                                                                                                                                               Pending
                                          vs                                          Court Name
                                          Tensay Johnson                              Travis County,Texas                                      On appeal
                                                                                      Number     Street
Case number C-1-CV-18-011295                                                                                                                   Concluded


                                                                                      City                       State    ZIP Code


Case title                                Nature of the case                          Court or agency                                Status of the case
Bank of America                           Bank of America                             County Court, Law No 2
                                                                                                                                               Pending
                                          vs                                          Court Name
                                          Tensay Johnson                              Travis County,Texas                                      On appeal
                                                                                      Number     Street
Case number C-1-CV-18-011300                                                                                                                   Concluded


                                                                                      City                       State    ZIP Code




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                         Case number (if known)    19-11331
Case title                                      Nature of the case                        Court or agency                              Status of the case
Citibank v. Tensay Johnson                      debt collection                           In the 98th District Court
                                                                                                                                                 Pending
                                                                                          Court Name
                                                                                          of Travis County, TX                                   On appeal
                                                                                          Number     Street
Case number D-1-GN-19-004764                                                                                                                     Concluded


                                                                                          City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date             Value of the property
IRS                                                             2018 tax refund                                       09/2019              $5,126.00
Creditor's Name


Number       Street                                             Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
                                                                   Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
Debtor 1         Tensay Gee Johnson
Debtor 2         Sylvia Phillips Johnson                                                    Case number (if known)    19-11331
14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                  Describe what you contributed              Date you            Value
that total more than $600                                            monetary donations                         contributed
School Fundraising - Vandegrift                                                                                      monthly            $25.00
Charity's Name


Number      Street




City                                      State     ZIP Code


  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:         List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Fred E. Walker, P.C.                                   attorney fee             $2324.25                        or transfer was     payment
Person Who Was Paid                                    filling fee                335.00                        made

609 Castle Ridge Road
Number      Street

Suite 220

Austin                        TX       78746
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 6
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                      Case number (if known)     19-11331
                                                     Description and value of any property transferred          Date payment         Amount of
InCharge Education Foundation, Inc.                  credit counseling course                                   or transfer was      payment
Person Who Was Paid                                                                                             made

2101 Park Center Dr., Ste. 310                                                                                       09/2019              $25.00
Number      Street




Orlando                       FL       32835
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                   Case number (if known)    19-11331
21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                               Where is the property?                      Describe the property              Value

Four Points Platinum Investment, LLC                                                       Business checking $2173.65          $2,461.18
Owner's Name                                                                               Business savings $287.53
                                               BBVA Compass
Number     Street                              Number    Street




City                      State   ZIP Code     City                   State   ZIP Code

                                               Where is the property?                      Describe the property              Value

Four Points Platinum Investment, LLC                                                       Business checking $5454.37          $5,554.37
Owner's Name                                                                               Bussines savings $100
                                               Chase Bank
Number     Street                              Number    Street




City                      State   ZIP Code     City                   State   ZIP Code

                                               Where is the property?                      Describe the property              Value

Four Points Equity Investments, LLC                                                        brokerage Account                    $305.36
Owner's Name

                                               Interactive Broker
Number     Street                              Number    Street




City                      State   ZIP Code     City                   State   ZIP Code

                                               Where is the property?                      Describe the property              Value

Four Points Equity Investments, LLC                                                        business checking account            $137.12
Owner's Name                                                                               $137.12
                                               A+FCU                                       business savings account
Number     Street                              Number    Street                            0.00




City                      State   ZIP Code     City                   State   ZIP Code



Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
Debtor 1        Tensay Gee Johnson
Debtor 2        Sylvia Phillips Johnson                                                   Case number (if known)    19-11331
                                                Where is the property?                      Describe the property              Value

Minor Children                                                                              custodial accounts                   $294.90
Owner's Name                                                                                checking $74.13
                                                A+FCU                                       savings 10.00
Number       Street                             Number    Street                            checking $116.23
                                                                                            savings $10.00
                                                                                            checking $84.54

City                       State   ZIP Code     City                   State   ZIP Code


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 9
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                         Case number (if known)         19-11331

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Four Points Platinum Investment, LLCDebtor has 100% interest              Do not include Social Security number or ITIN.
Business Name                       dba is Four Points Platinum Machining
                                                                          EIN: 8    4 – 1 7 2 3 3 4 1
10105 Metropolitan Dr               Machine Shop/ Manufacturing
Number     Street
                                                 Name of accountant or bookkeeper                    Dates business existed
Austin, TX 78758                                 Frye Tax Services
                                                                                                     From       1/2007            To   present

City                      State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Four Points Equity Investment, LLC               Debtor has 99% interest                             Do not include Social Security number or ITIN.
Business Name                                    Co-debtor has 1% interest
                                                                                                     EIN: 7     5 – 3         2    3     3   4   5     4
10128 Barbrook Drive                             Investment
Number     Street
                                                 Name of accountant or bookkeeper                    Dates business existed
Austin ,TX 78726                                 Frye Tax Services
                                                                                                     From       3/2007            To   present

City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 10
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                                 Case number (if known)      19-11331

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Tensay Gee Johnson                              X /s/ Sylvia Phillips Johnson
   Tensay Gee Johnson, Debtor 1                          Sylvia Phillips Johnson, Debtor 2

   Date     11/01/2019                                   Date     11/01/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                      Attach the Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 11
 Fill in this information to identify your case:
 Debtor 1              Tensay             Gee                     Johnson
                       First Name         Middle Name             Last Name

 Debtor 2            Sylvia               Phillips                Johnson
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number           19-11331                                                                                                Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Intl Bank Of Commerce                                 Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    10128 Barbrook Dr, Austin, TX 78726                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Santander Consumer Usa                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2015 Volkswagen Passat                                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Specialized Loand Servicing                           Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    10128 Barbrook Dr, Austin, TX 78726                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                                 Case number (if known)    19-11331

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    None.




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                                 Case number (if known)   19-11331

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Tensay Gee Johnson                             X /s/ Sylvia Phillips Johnson
   Tensay Gee Johnson, Debtor 1                          Sylvia Phillips Johnson, Debtor 2

   Date 11/01/2019                                       Date 11/01/2019
        MM / DD / YYYY                                        MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 3
B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   AUSTIN DIVISION
In re Tensay Gee Johnson                                                                                                            Case No.           19-11331
      Sylvia Phillips Johnson
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $5,062.50
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,524.25
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,538.25

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   The fee does not include any other service then those specifically set forth above. Any agreement to provide
   additional services must be in writing. The amount disclosed above does not include the filing fee paid for this
   matter with the court which was handled by Debtor's attorney




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                  11/01/2019                         /s/ Denise A. True
                     Date                            Denise A. True                             Bar No. 24008212
                                                     Fred E. Walker, P.C.
                                                     609 Castle Ridge Road
                                                     Suite 220
                                                     Austin, Texas 78746
                                                     Phone: (512) 330-9977 / Fax: (512) 330-1686




    /s/ Tensay Gee Johnson                                         /s/ Sylvia Phillips Johnson
  Tensay Gee Johnson                                              Sylvia Phillips Johnson
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Tensay               Gee                   Johnson
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Sylvia              Phillips              Johnson                         2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number        19-11331                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $3,998.08            $3,200.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
Debtor 1        Tensay Gee Johnson
Debtor 2        Sylvia Phillips Johnson                                                                                             Case number (if known) 19-11331

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                  $35,863.96                               $0.00
     deductions)

     Ordinary and necessary operating                     –      $33,464.20              –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                            $2,399.76                             $0.00 here                       $2,399.76            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                           $0.00            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00            $0.00
8.   Unemployment compensation                                                                                                                 $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $6,397.84   +   $3,200.00    =      $9,597.84
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                                            Case number (if known) 19-11331

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $9,597.84
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.     $115,174.08

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        4

                                                                                                                                                                       $83,960.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Tensay Gee Johnson                                                                   X    /s/ Sylvia Phillips Johnson
           Tensay Gee Johnson, Debtor 1                                                                  Sylvia Phillips Johnson, Debtor 2

           Date 11/1/2019                                                                                Date 11/1/2019
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
 Fill in this information to identify your case:                                                                                Check the appropriate box as directed
                                                                                                                                in lines 40 or 42:
 Debtor 1                 Tensay                            Gee                              Johnson
                          First Name                        Middle Name                      Last Name                           According to the calculation required by this
                                                                                                                                 Statement:
 Debtor 2            Sylvia                                 Phillips                         Johnson
 (Spouse, if filing) First Name                             Middle Name                      Last Name
                                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                                                                      2. There is a presumption of abuse.
 Case number              19-11331
 (if known)
                                                                                                                                     Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                      04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:           Determine Your Adjusted Income

1.   Copy your total current monthly income
                                         ...............................................................................................................................
                                                                      Copy line 11 from Official Form 122A-1 here                                                        1.       $9,597.84

2.   Did you fill out Column B in Part 1 of Form 122A-1?

           No. Fill in $0 for the total on line 3.

           Yes. Is your spouse filing with you?

                   No. Go to line 3.

                   Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

           No. Fill in $0 for the total on line 3.

           Yes. Fill in the information below:

           State each purpose for which the income was used
                                                                                                            Fill in the amount you
           For example, the income is used to pay your spouse's tax
                                                                                                            are subtracting from
           debt or to support people other than you or your
                                                                                                            your spouse's income
           dependents




                                                                                                           +
         Total ........................................................................................................   $0.00 Copy
                                                                                                                                 ........................................
                                                                                                                                         total here                           –      $0.00


4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                $9,597.84




Official Form 122A-2                                                             Chapter 7 Means Test Calculation                                                                     page 1
Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                                                    Case number (if known) 19-11331

 Part 2:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                                   4
      be different from the number of people in your household.



 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                                $1,786.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                        $55.00

      7b. Number of people who are under 65                                           X                  4

      7c. Subtotal. Multiply line 7a by line 7b.                                              $220.00 Copy here                                 $220.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                      $114.00

      7e. Number of people who are 65 or older                                        X

      7f.    Subtotal. Multiply line 7d by line 7e.                                               $0.00 Copy here                    +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                                                here
                                                                                                                                              $220.00
      7g. Total. Add lines 7c and 7f................................................................................................................................
                                                                                                                              ................................................. 7g.    $220.00




Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                               page 2
Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                                         Case number (if known) 19-11331

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,              $683.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $1,821.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Intl Bank Of Commerce                                      $167.00
            Specialized Loand Servicing                             $2,271.92

                                                              +
                                                                                                                   Repeat this
                                                                              Copy                                 amount on
                             Total average monthly payment          $2,438.92 here                 –     $2,438.92 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                       Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                        $0.00 here           $0.00
            rent expense). If this amount is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                 $620.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                     Chapter 7 Means Test Calculation                                           page 3
Debtor 1      Tensay Gee Johnson
Debtor 2      Sylvia Phillips Johnson                                                                        Case number (if known) 19-11331

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2015 Volkswagen Passat



                                                                                                                           $508.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you filed for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            Santander Consumer Usa                                                 $158.38

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $158.38         here                  –    $158.38 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ........................                $349.62 here                  $349.62

      Vehicle 2         Describe Vehicle 2:




      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                              Repeat this
                                                                                                   Copy                                       amount on
                                Total average monthly payment                                      here                  –                    line 33c.

                                                                                                                                              Copy net
                                                                                                                                              Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                          expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                   ........................                   here            $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                   $0.00
     Transportation expense allowance regardless of whether you use public transportation.




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Debtor 1    Tensay Gee Johnson
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 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                  $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,             $1,426.00
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,              $304.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                   $4.68
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                   $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                               $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                 $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                      $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services             +        $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                          $5,393.30




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Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                  Case number (if known) 19-11331

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.


      Health insurance                                         $649.25

      Disability insurance                                       $28.48

      Health savings account                           +          $0.00

      Total                                                    $677.73 Copy total here                                                                         $677.73
                                                                                                 ...........................................................................


      Do you actually spend this total amount?

              No. How much do you actually spend?

              Yes

 26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                                                    $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                 $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                  $100.00
     $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                       +             $75.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).




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Debtor 1      Tensay Gee Johnson
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 32. Add all of the additional expense deductions.
     Add lines 25 though 31.                                                                                                                                                                           $852.73

 Deductions for Debt Payment


 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home:

      33a.                                                                                                                                    $2,438.92
              Copy line 9b here............................................................................................................................................................................................

              Loans on your first two vehicles:

      33b.                                                                                                                                      $158.38
              Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                          $0.00
              Copy line 13e here............................................................................................................................................................................................

      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $2,597.30
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $2,597.30

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the
                  payments listed in line 33, to keep possession of your property (called
                  the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                      $0.00           here                               $0.00




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Debtor 1       Tensay Gee Johnson
Debtor 2       Sylvia Phillips Johnson                                                                                     Case number (if known) 19-11331

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                               $28,623.99
                      Total amount of all past-due priority claims...................................................................................... ÷ 60 =               $477.07

 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13                                                    $1,000.00
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).
                                                                                                                                        X              9.9 %
                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may
                      also be available at the bankruptcy clerk's office.

                                                                                                                                                               Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                              $99.00           here            $99.00

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                               $3,173.37

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                             $5,393.30
      expense allowances.............................................................................................................

                                                                              $852.73
      Copy line 32, All of the additional expense deductions...............................

                                                                   + $3,173.37
      Copy line 37, All of the deductions for debt payment.....................................................

      Total deductions                                                                          $9,419.40             Copy total here                                        $9,419.40


 Part 3:         Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a.                                                                    $9,597.84
               Copy line 4, adjusted current monthly income...................................

      39b.                                                                    – $9,419.40
               Copy line 38, Total deductions.......................................................................................................
                                                                                                                   Copy
      39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                   $178.44 here                                $178.44
               Subtract line 39b from line 39a.

               For the next 60 months (5 years)...........................................................................................................
                                                                                                                                    x 60

                                                                                                                                                                  Copy
      39d.                                                                                                                                $10,706.40 here
               Total. Multiply line 39c by 60.....................................................................................................................
                                                                                                                            39d.                                            $10,706.40




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Debtor 1      Tensay Gee Johnson
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 40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

             * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
                                                                                                                          $237,000.00
              (Official Form 106Sum), you may refer to line 3b on that form. .....................................................................

                                                                                                                              x .25
      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                          Copy
                                                                                                                                $59,250.00 here             $59,250.00
              Multiply line 41a by 0.25.

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
     Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances
 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

             Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                  for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.


                      Give a detailed explanation of the special circumstances                                                              Average monthly expense
                                                                                                                                            or income adjustment




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Debtor 1     Tensay Gee Johnson
Debtor 2     Sylvia Phillips Johnson                                                     Case number (if known) 19-11331

 Part 5:       Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Tensay Gee Johnson                                              X   /s/ Sylvia Phillips Johnson
           Tensay Gee Johnson, Debtor 1                                            Sylvia Phillips Johnson, Debtor 2

           Date 11/1/2019                                                          Date 11/1/2019
                MM / DD / YYYY                                                          MM / DD / YYYY




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